Case:19-16393-TBM Doc#:7 Filed:07/26/19 Entered:07/26/19 14:05:05 Page of 2

Fill in this information to identify your case:

Debtor 1 Ross G. Suchman
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) 0 Check if this is an
amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

 

If you are an individual filing under chapter 7, you must fill out this form if:
l@ creditors have claims secured by your property, or

B you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors Capital One Auto Finance OO Surrender the property. HI No
name: CO Retain the property and redeem it.
a. CO Retain the property and enter into a Reaffirmation OO Yes
Description of 2013 Ford Fusion AWD Agreement.
property lf Retain the property and [explain]:
securing debt: Retain and pay pursuant to contract

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: Crissy Sedillo O No
@ Yes

Description of leased Residential lease. No security deposit held.
Property:

EZTERE sign Below

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

 

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Debtor1 Suchman, Ross G. Case number (if known)

 

 

 

 

 

oe: X
“Ross G. Suchman Signature of Debtor 2
Signature of Debtor 1
Date July 17, 2019 Date
t
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

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